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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable John A. Mendez                       RE: Mumraiz Khan
United States District Court Judge                 Docket Number: 2:09CR00138-02
Sacramento, California                             PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


Mumraiz Khan is requesting permission to travel to Pakistan. Mumraiz Khan is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date:        On June 12, 2013, Mumraiz Khan was sentenced for the
offenses of 7 USC 2024(b) - Unauthorized Use of Food Stamps and 18 USC 1957 – Monetary
Transaction in Criminally Derived Property.


Sentence Imposed: 57 months custody Bureau of Prisons; 36 months Supervised Release; $200
special assessment


Dates and Mode of Travel: The offender will wait until permission by the Court is granted to
make his flight arrangements. He will travel by air, with his son, who is paying for the trip.


Purpose: The offender wishes to visit his mother in Pakistan, as she is old and in poor health.




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                                                                                                   REV. 06/2015
                                                                    TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Mumraiz Khan
         Docket Number: 2:09CR00138-02-
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      Respectfully submitted,

                                         /s/ Wendy Reyes

                                          Wendy Reyes
                                  United States Probation Officer


Dated:    August 26, 2016
          Elk Grove, California
          WER/sda

                           /s/ Brenda Barron-Harrell
 REVIEWED BY:              Brenda Barron-Harrell
                           Supervising United States Probation Officer




                                  ORDER OF THE COURT

          ☒     Approved          ☐      Disapproved



 8/30/2016                                       /s/ John A. Mendez
 Date                                         John A. Mendez
                                              United States District Court Judge




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                                                                                                   REV. 06/2015
                                                                    TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
